
82 So. 3d 1187 (2012)
Vincent FOGGY, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D12-460.
District Court of Appeal of Florida, Fifth District.
March 16, 2012.
Vincent Foggy, Sneads, pro se.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case no. 05-2010-CF-31221-A in the Circuit Court in and for Brevard *1188 County, Florida. See Fla. R.App. P. 9.141(c)(6)(D).
PETITION GRANTED.
SAWAYA, COHEN and JACOBUS, JJ., concur.
